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                        Exhibit A

             Preliminary Tabulation Summary
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                                                                                               Boy Scouts of America
                                                                                    Exhibit A - Preliminary Tabulation Summary

                                                                                                                                            Voting results are preliminary and remain subject to further review and audit.


              Class 3A Summary:       Voting Outcome:      Accepted
              2010 Credit Facility
              Claims                                           Total Valid          Accepted            Rejected
                                              # Votes:                 1                   1                  0
                                              Vote %:                               100.00%              0.00%
                                             Amount:      $80,762,060.00      $80,762,060.00              $0.00
                                          Amount %:                                 100.00%              0.00%
                                  # Opt Out Elections:                 1



              Class 3B Summary:       Voting Outcome:      Accepted
              2019 RCF
              Claims                                           Total Valid          Accepted            Rejected
                                              # Votes:                 1                   1                  0
                                              Vote %:                               100.00%              0.00%
                                             Amount:      $61,542,720.00      $61,542,720.00              $0.00
                                          Amount %:                                 100.00%              0.00%
                                  # Opt Out Elections:                 1



              Class 4A Summary:       Voting Outcome:      Accepted
              2010 Bond
              Claims                                           Total Valid          Accepted            Rejected
                                              # Votes:                 1                   1                  0
                                              Vote %:                               100.00%              0.00%
                                             Amount:      $40,137,274.00      $40,137,274.00              $0.00
                                          Amount %:                                 100.00%              0.00%
                                  # Opt Out Elections:                 1



              Class 4B Summary:       Voting Outcome:      Accepted
              2012 Bond
              Claims                                           Total Valid          Accepted            Rejected
                                              # Votes:                 1                   1                  0
                                              Vote %:                               100.00%              0.00%
                                             Amount:     $145,662,101.00     $145,662,101.00              $0.00
                                          Amount %:                                 100.00%              0.00%
                                  # Opt Out Elections:                 1



              Class 5 Summary:        Voting Outcome:      Accepted
              Convenience
              Claims                                           Total Valid          Accepted            Rejected
                                           # Votes:                   73                  72                  1
                                           Vote %:                                   98.63%              1.37%
                                          Amount:          $1,150,520.13       $1,150,124.25            $395.88
                                        Amount %:                                    99.97%              0.03%
                               # Opt Out Elections:                    5
                     # Convenience Claim Elections:                    7



              Class 6 Summary:        Voting Outcome:      Accepted
              General Unsecured
              Claims                                           Total Valid          Accepted            Rejected
                                              # Votes:               152                 150                  2
                                              Vote %:                                98.68%              1.32%
                                             Amount:      $26,546,329.79      $26,546,327.79              $2.00
                                          Amount %:                                 100.00%              0.00%
                                  # Opt Out Elections:                 7



              Class 7 Summary:        Voting Outcome:      Accepted
              Non-Abuse
              Litigation Claims                                Total Valid         Accepted             Rejected
                                              # Votes:                 6                  4                   2
                                              Vote %:                               66.67%              33.33%
                                             Amount:               $6.00              $4.00               $2.00
                                          Amount %:                                 66.67%              33.33%
                                  # Opt Out Elections:                 4



              Class 8 Summary:        Voting Outcome:      Accepted
              Direct Abuse
              Claims                                                             All                                           Master Ballots                           Direct Ballots
                                                               Total Valid         Accepted             Rejected            Accepted              Rejected           Accepted               Rejected
                                            # Votes:             53,888               39,401             14,487                1,964                8,042              37,437                 6,445
                                             Vote %:                                 73.12%             26.88%               19.63%               80.37%              85.31%                14.69%
                                            Amount:           $53,888.00         $39,401.00          $14,487.00            $1,964.00            $8,042.00          $37,437.00             $6,445.00
                                         Amount %:                                   73.12%             26.88%               19.63%               80.37%              85.31%                14.69%
                                                                        1
                 # Expedited Distribution Elections:                7919                6882                922
                 Expedited Distribution Elections %:             14.70%              17.47%              6.36%
                                # Opt Out Elections:              21,172



              Class 9 Summary:        Voting Outcome:      Rejected
              Indirect Abuse
              Claims                                           Total Valid         Accepted             Rejected
                                              # Votes:             7,200              4,607               2,593
                                              Vote %:                               63.99%              36.01%
                                             Amount:           $7,200.00          $4,607.00           $2,593.00
                                          Amount %:                                 63.99%              36.01%
                                  # Opt Out Elections:             5,918



                                                                                                                                                                                                              Page 1 of 2


1
    Omni received 115 Class 8 Ballots in which the holder made the Expedited Distribution Election but did not vote to accept or reject the Plan, which
are included in this total.
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                                                                        Delaware BSA, LLC
                                                           Exhibit A - Preliminary Tabulation Summary

                                                                                                        Voting results are preliminary and remain subject to further review and audit.


Class 3A Summary:      Voting Outcome:    Accepted
2010 Credit Facility
Claims                                       Total Valid   Accepted            Rejected
                               # Votes:              1            1                  0
                               Vote %:                     100.00%              0.00%
                              Amount:            $1.00        $1.00              $0.00
                           Amount %:                       100.00%              0.00%
                   # Opt Out Elections:               1



Class 3B Summary:      Voting Outcome:    Accepted
2019 RCF
Claims                                       Total Valid   Accepted            Rejected
                               # Votes:              1            1                  0
                               Vote %:                     100.00%              0.00%
                              Amount:            $1.00        $1.00              $0.00
                           Amount %:                       100.00%              0.00%
                   # Opt Out Elections:               1



Class 4A Summary:      Voting Outcome:    Accepted
2010 Bond
Claims                                       Total Valid   Accepted            Rejected
                               # Votes:              1            1                  0
                               Vote %:                     100.00%              0.00%
                              Amount:            $1.00        $1.00              $0.00
                           Amount %:                       100.00%              0.00%
                   # Opt Out Elections:               1



Class 4B Summary:      Voting Outcome:    Accepted
2012 Bond
Claims                                       Total Valid   Accepted            Rejected
                               # Votes:              1            1                  0
                               Vote %:                     100.00%              0.00%
                              Amount:            $1.00        $1.00              $0.00
                           Amount %:                       100.00%              0.00%
                   # Opt Out Elections:               1



Class 9 Summary:       Voting Outcome:    Accepted
Indirect Abuse
Claims                                       Total Valid   Accepted            Rejected
                               # Votes:            821          589                232
                               Vote %:                      71.74%             28.26%
                              Amount:          $821.00     $589.00             $232.00
                           Amount %:                        71.74%             28.26%
                   # Opt Out Elections:              670


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